       Case 3:22-cv-00178-SDD-SDJ        Document 84-1     06/12/23 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY
 BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF
 THE NAACP,                                      Civil Action No. 3:22-cv-00178
                                                 SDD-SDJ
                           Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,

                           Defendant.


      DECLARATION OF DAYTON CAMPBELL-HARRIS IN SUPPORT OF
               MOTION FOR ADMISSION PRO HAC VICE

       I, Dayton Campbell-Harris, declare the following:

       1.     I have personal knowledge of the matters stated in this declaration and

could competently testify to the same if called upon to do so.

       2.     No disciplinary proceedings or criminal charges have been instituted

against me.

       3.     A Certificate of Good Standing from the State of Washington dated

December 29, 2022 is attached as Exhibit 2 to the accompanying motion for

admission. The Certificate confirms that I, Dayton Campbell-Harris, was duly

admitted to practice in all the courts of Washington on August 12, 2022 and am in

good standing as a member of the bar.



                                           1
      Case 3:22-cv-00178-SDD-SDJ        Document 84-1     06/12/23 Page 2 of 2




      4.     Furthermore, I DO SOLEMNLY SWEAR that I will conduct myself as

an attorney and counselor of this Court, uprightly and according to law; and that I

will support the Constitution of the United States.



I declare under penalty of perjury that the foregoing is true and correct.



Date: June 12, 2023                           Respectfully submitted,

                                           /s/ Dayton Campbell-Harris     _
                                           Dayton Campbell-Harris
                                           American Civil Liberties Union
                                           Foundation
                                           125 Broad Street, 18th Floor
                                           New York, NY 10004
                                           dcampbell-harris@aclu.org




                                          2
